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                                                                                      FILED
                                                                               U.S. DISTRICT COURT
                       IN THE UNITED STATES DISTRICT COURT
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                     FOR THE SOUTHERN DISTRICT OF GEORGIA                      ZOIl JAN 18 A D UT

                                     DUBLIN DIVISION
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MICHAEL DERRICK GOINS,

                     Petitioner,

              V.                                          CV 316-069
                                                          (Formerly CR 314-002)
UNITED STATES OF AMERICA,

                     Respondent.


                                         ORDER




       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation ("R&R"), to which objections have been filed. (Doc.

nos. 7, 8.) The Magistrate Judge recommended dismissal of the motion filed pursuant to 28

U.S.C. § 2255 on the basis it is untimely and Petitioner is not eligible for equitable tolling.

("See doc. no. 2.) Nothing in Petitioner's objections undermines the Magistrate Judge's

recommendation, and only two objections warrant further comment.

       Petitioner first objects the Court did not liberally construe his motions requesting

documents as a §2255 motion challenging the validity of his sentence. (Doc. no. 7, p. 2.);

see United States v. Goins. CR 314-002, doc. nos. 384, 386 (S.D. Ga. April 19, 2016)

(hereinafter "CR 314-002"). "Where a [pro se] motion, nominally seeking an extension of

time, contains allegations sufficient to support a claim under section 2255, a district court is

empowered, and in some instances may be required, ... to treat that motion as a substantive

motion for relief under section 2255." Stewart v. United States. 646 F.3d 856, 857 n. 1 (11th
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